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IN rI`HE UNITEI) S'I`ATES DISTRICT COURT
NORTHERN DISTRICT ()F OHIO, EASTERN DIVISI()N

 

AIM LEASING COMPANY, et al., : CASE NO. 4:14-cv~02161
Plaintiffs, : JUDGE BENITA Y. PEARSON
vs. : MAGISTRATE GEORGE J. LIMBERT
RLI CORPORATION, et al.,
Defendants. : (Jury Demand Endorsed Hereon)
ANSWER OF DEFENDANT

HARBOR AMERICA EAS'I`, INC.

 

Now comes Defendant Harbor America East, Ine., by and through eounsel, and for its
Answer to Plaintiffs’ Complaint states as follows:
FIRST DEFENSE
l. This Defendant is Without sufficient knowledge or information at this time to form a belief
as to the truthfulness of the allegations set forth in 1111 l - 16, 20, 21, 26 - 30, 34 ~ 44, and 50 -
63, and therefore denies the same.
2. This Defendant denies the allegations found in 1[1{ 17, 22, 23, 31 - 33, 45 - 49, and 64 - 88.

3. This Defendant admits the allegations found in ‘\H{ 19, 24, and 25.

4. This Defendant admits it is headquartered in Texas, but denies the remaining allegations in
‘|] 18.
5 . This Defendant denies each and every allegation not heretofore expressly admitted to be true.
SECOND DEFENSE

6, Plaintiffs’ Complaint fails to state a claim upon Which relief can be granted

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THIRD DEFENSE
Piaintiffs’ Compiaint is barred by the doctrines of waiver, estoppel, laches, and/or the
applicable statutes of limitation

FOURTH DEFENSE

Piaintiffs have failed to mitigate damages, if any.

FIF'I`H DEFENSE
Plaintiffs’ Complaint is barred by its own breach of contract

SIXTH DEFENSE
Piaintiffs have failed to join necessary and/or indispensable parties.

SEVENTH DEFENSE
This Court iaeks proper venue.
EIGHTH DEFENSE

Plaintiffs’ claim of fraud/misrepresentation is barred by its reliance upon other parties, not
part of this lawsuit, and not yet known to these answering Defendants.

NINTH DEFENSE
Plaintiffs’ Complaint is barred by lack of reliance and/or inducement

TENTH DEFENSE
Plaintiffs’ Cornpiaint is barred by the sole, contributory, and/or comparative negligence of
Plaintiffs and/or other persons not yet known to this answering Defendant.

ELEVENTH DEFENSE

Plaintii"fs’ Complaint is barred by the intervening/superceding actions of persons not yet

known to this answering Defendant.

 

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TWELFTH DEFENSE
16. Plaintiffs’ Cornplaint is barred by the doctrine of unclean hands.
THIRTEENTH DEFENSE
17. Plaintiffs may have failed to exhaust administrative remedies
1 8. Defendant reserves the right to plead other affirmative defenses after discovery is completed
WHEREFORE, Defendant Harbor America East, lnc. prays that Plaintiffs’ Complaint be

dismissed With prejudice and that Plaintiffs be ordered to pay all costs and attorneys’ fees sustained
by this Defendant.

Respectfully submitted,

s/ JOHN C. ALBERT
JOHN C. ALBERT (0024164)
500 South Front Street, Suite 1200

Colurnbus, OH 43215
614~229~4528 FAX: 614»229-4559

Ernail: jalbeit@cbjlawyers.corn
Attomeyfor Dej%ndant,

Harbor America East, Inc.

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JURY DEMAND

This Defendant hereby requests a jury hear the within matter.

s/ JOHN C. ALBERT
.lOHN C. ALBERT (0024164)

CERTIFICATE OF SERVICE
l hereby certify that on this ls‘ day of December, 2014, l electronically filed the foregoing
ANSWER OF DEFENDANT HARBOR AMERICA EAST, INC. with the Clerk of Court using

the Electronic Filing System which will send notification of such filing to all counsel.

s/ JOHN C. ALBERT
JOHN C. ALBERT (0024164)

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

 

AIM LEASING COMPANY, et al.
‘ C@S@ NO- .…-2

 

   

V.

 

Corporate Disclosure Staternent
RLI CORPORATION, et al.

 

 

 

Pursuant to the Col'porate Disclosure Staternent provisions in Local Civil Rule 3. l 3(b) and
Local Criminal Rule 16.2: Any nongovernmental corporate party to a proceeding must tile a
statement identifying all its parent, subsidiary and other affiliate corporations and listing any publicly held
company that owns 10% or more of the party’s stock. A party must tile the statement upon Hling a
complaint answer, motion, response or other pleading in this Court, whichever occurs first The
obligation to disclose any changes will be continuing throughout the pendency of the case.

In compliance With those provisions, this Corporate Disclosure Statement is filed on behalf of:

Harbor Anlerica East, Inc.

 

l . ls said party a parent, subsidiary or other affiliate of a publicly owned corporation?\
Yes " No.

lf the answer is Yes, list below the identity of the parent, subsidiary or other affiliate corporation
and the relationship between it and the named party:

 

 

 

 

2. ls there a publicly owned corporation, not a party to the case, that has a financial interest in the
outcome? Yes " No.

 

It` the answer is Yes, list the identity of such corporation and the nature of the financial interest:

 

 

 

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